Case 1:10-cr-00600-DLI   Document 304   Filed 04/26/13   Page 1 of 6 PageID #: 1784




                                            S/ Dora L. Irizarry
Case 1:10-cr-00600-DLI   Document 304   Filed 04/26/13   Page 2 of 6 PageID #: 1785
Case 1:10-cr-00600-DLI   Document 304   Filed 04/26/13   Page 3 of 6 PageID #: 1786
Case 1:10-cr-00600-DLI   Document 304   Filed 04/26/13   Page 4 of 6 PageID #: 1787
Case 1:10-cr-00600-DLI   Document 304   Filed 04/26/13   Page 5 of 6 PageID #: 1788
Case 1:10-cr-00600-DLI   Document 304   Filed 04/26/13   Page 6 of 6 PageID #: 1789
